Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 1 of 16                     PageID #: 327




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


 COPAN ITALIA S.P.A., and
 COPAN DIAGNOSTICS, INC.,

                        Plaintiffs,                    C.A. No. 1:18-cv-00218-JDL

                v.

 PURITAN MEDICAL PRODUCTS
 COMPANY LLC and PURITAN
 DIAGNOSTICS LLC,

                        Defendants.


                                      JOINT PROTECTIVE ORDER

       The parties to this Protective Order have agreed to the terms of this Order; accordingly, it

is ORDERED:

       1. Scope. All documents produced in the course of discovery, including initial

disclosures, all responses to discovery requests, all deposition testimony and exhibits, and other

materials which may be subject to restrictions on disclosure for good cause and information

derived directly therefrom (hereinafter collectively “documents”), shall be subject to this

Protective Order concerning confidential information as set forth below. This Protective Order is

subject to the Local Rules of this District and of the Federal Rules of Civil Procedure on matters

of procedure and calculation of time periods.

       2. Form and Timing of Designation. A party may designate documents as confidential

and restricted in disclosure under this Protective Order by placing or affixing the words

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” or “ATTORNEY’S EYES ONLY

- SUBJECT TO PROJECTIVE ORDER” on the document in a manner that will not interfere

with the legibility of the document and that will permit complete removal of the designation.
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 2 of 16                                   PageID #: 328




Documents shall be designated prior to or at the time of the production or disclosure of the

documents. A confidentiality designation does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Protective

Order.

         3. Documents Which May be Designated CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER. Any party may designate documents as CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER but only after review of the documents by an attorney1 or

a party appearing pro se who has in good faith determined that the documents contain

information protected from disclosure by statute or that should be protected from disclosure as

confidential personal information, personnel records, or commercial information. Documents

and information subject to European Union or Italian privacy and confidentiality laws may also

be designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, as needed. The

designation shall be made subject to the standards of Rule 11 and the sanctions of Rule 37 of the

Federal Rules of Civil Procedure. The parties agree not to withhold documents or information

solely on the basis that the documents or information are confidential subject to this Protective

Order. Information or documents that are available in the public sector may not be designated as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.

         4. Documents Which May be Designated ATTORNEY’S EYES ONLY - SUBJECT

TO PROTECTIVE ORDER. The parties represent that this case is likely to involve proprietary

trade secrets, financial, technical, or commercially sensitive competitive information that the



1
  An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER must be admitted
to the Bar of at least one state but need not be admitted to practice in the District of Maine and need not file the
certification required of visiting lawyers by Local Rule 83.1(c) unless he/she is appearing generally in the case on
behalf of a party. By designating documents confidential pursuant to this Order, counsel submits to the jurisdiction
and sanctions of this Court on the subject matter of the designation.

                                                         2
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 3 of 16                     PageID #: 329




producing party maintains as highly confidential in its business. Documents and information

subject to European Union or Italian privacy and confidentiality laws may also be designated as

ATTORNEY’S EYES ONLY - SUBJECT TO PROTECTIVE ORDER, as needed and to the

extent such documents and information can be produced without breaching European Union or

Italian privacy and confidentiality laws. A party producing such documents or information

pursuant to this Protective Order may designate these documents produced as ATTORNEY’S

EYES ONLY - PURSUANT TO PROTECTIVE ORDER in accordance with ¶ 2. This category

of information shall be limited to those documents and that information which, in the good faith

determination of counsel for the party producing such documents or evidence, is highly sensitive

and should not be disclosed to the parties or other persons outside of the attorney’s office except

under the parameters set forth within ¶ 6(c) of this order. The parties agree not to withhold

documents or information solely on the basis that the information is attorney’s eyes only subject

to this Protective Order. Information or documents that are available in the public sector may not

be designated as ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER.

       5. Depositions. Deposition testimony shall be deemed CONFIDENTIAL - SUBJECT

TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE

ORDER only if designated as such. Such designation shall be specific as to the portions to be

designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

ONLY - SUBJECT TO PROJECTIVE ORDER. Depositions, in whole or in part, shall be

designated on the record as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER at the time of the

deposition. Deposition testimony so designated shall remain CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE



                                                 3
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 4 of 16                     PageID #: 330




ORDER until seven (7) days after delivery of the transcript by the court reporter. Within seven

(7) days after delivery of the transcript, a designating party may serve a Notice of Designation to

all parties of record as to specific portions of the transcript to be designated CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

PROJECTIVE ORDER. Thereafter, those portions so designated shall be protected as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY -

SUBJECT TO PROJECTIVE ORDER pending objection under the terms of this Protective

Order. The failure to serve a Notice of Designation shall waive the CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

PROJECTIVE ORDER designation made on the record of the deposition. If deposition excerpts

have not been designated as pursuant to this Protective Order, they are not to be treated as sealed

documents when filed with the Court.

       6. Protection of Confidential Material.

       (a) General Protections. Documents designated CONFIDENTIAL - SUBJECT TO

       PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE

       ORDER under this Order shall not be used or disclosed by the parties, counsel for the

       parties or any other persons identified in ¶¶ 6(b) and 6(c) (as applicable) for any purpose

       whatsoever other than to prepare for and to conduct discovery, motion practice and trial

       in this action, including any appeal thereof.

       (b) Limited Third-Party Disclosures (CONFIDENTIAL). The parties and counsel for

       the parties shall not disclose or permit the disclosure of any CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER documents to any third person or entity except as

       set forth in subparagraphs (1)-(9). Subject to these requirements, the following categories



                                                 4
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 5 of 16                  PageID #: 331




     of persons may be allowed to review documents that have been designated

     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER:

            (1) Counsel. Outside U.S. counsel of record for the parties and employees of

            outside U.S. counsel who have responsibility for the preparation and trial of the

            action;

            (2) Parties. Parties and employees of a party to this Order, but only to the extent

            counsel determines that the specifically named individual party or employee’s

            assistance is reasonably necessary to the conduct of the litigation in which the

            information is disclosed;

            (3) The Court. The Court and court officials employed in connection with this

            action;

            (4) Witnesses. Witnesses or deponents who are (a) eligible to have access to the

            designated document pursuant to Paragraph 6, (b) identified in the designated

            document as an author, addressee, or copy recipient of such document, (c)

            although not identified as an author, addressee, or copy recipient of such

            designated document, has, in the ordinary course of business, seen such

            designated document or was, in the ordinary course of business, aware of such

            designated document, (d) a current or former officer, director, or employee of the

            producing party, or (e) a producing party’s Rule 30(b)(6) designee, to the extent

            that only the producing Party’s designated document is disclosed to such

            designee;

            (5) Court Reporters and Recorders. Court reporters and recorders engaged for

            depositions;



                                              5
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 6 of 16                     PageID #: 332




            (6) Translators and Interpreters. Translators and interpreters engaged for

            depositions, hearings, trial, or for the translation of documents, but only after each

            such person has completed the certification contained in Attachment A,

            Acknowledgment of Understanding and Agreement to Be Bound;

            (7) Contractors. Those persons specifically engaged for the limited purpose of

            making copies of documents or organizing or processing documents but only after

            each such person has completed the certification contained in Attachment A,

            Acknowledgment of Understanding and Agreement to Be Bound;

            (8) Consultants and Experts. Consultants, investigators, or experts (hereinafter

            referred to collectively as “experts”) employed by the parties or counsel for the

            parties to assist in the preparation and trial of this action but only after following

            the procedures in Paragraph 7; and

            (9) Others by Consent. Other persons only by written consent of the producing

            party or upon order of the Court and on such conditions as may be agreed or

            ordered. Before receiving CONFIDENTIAL - SUBJECT TO PROTECTIVE

            ORDER information, all such persons shall execute the certification contained in

            Attachment A, Acknowledgment of Understanding and Agreement to Be Bound.

     Counsel for the disclosing party shall be responsible for maintaining copies of all

     certifications signed by persons receiving confidential information and shall produce

     copies of all executed certifications within seven (7) days of execution.

     (c) Limited Third-Party Disclosures (ATTORNEY’S EYES ONLY). Counsel for the

     parties shall not disclose or permit the disclosure of any ATTORNEY’S EYES ONLY -




                                               6
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 7 of 16                     PageID #: 333




       SUBJECT TO PROJECTIVE ORDER documents to any third person or entity except as

       set forth in subparagraphs (1) and (3) through (9) of ¶ 6(b).

       (d) Control of Documents. Counsel for the parties shall make reasonable efforts to

       prevent unauthorized disclosure of documents designated as CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

       PROJECTIVE ORDER pursuant to the terms of this Protective Order. Counsel shall

       maintain the originals of the forms signed by persons acknowledging their obligations

       under this Protective Order for a period of six (6) years from the date of signing.

       (e) Copies. Prior to production to another party, all copies, electronic images,

       duplicates, extracts, summaries or descriptions (hereinafter referred to collectively as

       “copies”) of documents designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE

       ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER under

       this Order, or any individual portion of such a document, shall be affixed with the

       designation “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” or

       “ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER” if the word

       does not already appear on the copy. All such copies shall thereafter be entitled to the

       protection of this Order. The term “copies” shall not include indices, electronic databases

       or lists of documents provided these indices, electronic databases or lists do not contain

       substantial portions or images of the text of confidential documents or otherwise disclose

       the substance of the confidential information contained in those documents.

       7. Notice of Disclosure to Experts. At least fourteen (14) days before the first

disclosure of any CONFIDENTIAL or ATTORNEY’S EYES ONLY material of the producing

party is made to an expert described above in ¶ 6(b)(8), the receiving party will serve a notice on



                                                 7
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 8 of 16                       PageID #: 334




the producing party identifying the expert by name and position, and including an up-to-date

copy of the expert’s curriculum vitae or equivalent resume and a list of all cases in which the

expert has provided an expert report or given testimony by deposition or at trial during the

previous five (5) years. The notice of disclosure shall also include a completed certification in

Attachment A, Acknowledgement of Understanding and Agreement to Be Bound. The

producing party may object to the disclosure for good cause shown, in writing, to the receiving

party’s counsel within seven (7) days of receipt of the notice. If at the end of the seven-day

period, no written objection has been received by the party that wishes to disclose the material,

then the expert may receive copies of such CONFIDENTIAL or ATTORNEY’S EYES ONLY

material upon compliance with all applicable provisions of this Protective Order. If the

producing party objects to the disclosure of its CONFIDENTIAL or ATTORNEY’S EYES

ONLY material to the expert, then the producing party will file, within fourteen (14) days after

notifying the other party of its objection, an appropriate motion for a protective order with the

Court (or take other appropriate action under the Federal and Local Rules to bring the matter to

the Court for resolution). No CONFIDENTIAL or ATTORNEY’S EYES ONLY information

may be disclosed to the expert unless and until the Court so rules, or the parties agree otherwise.

The disclosure of the identity of a consulting expert will not be a waiver of any privilege or

protection that applies to communications with that expert or the expert’s work product.

Furthermore, the parties agree that by stipulating to the entry of this Protective Order, the parties

do not intend to modify in any way the discovery rules applicable to consulting experts.

       8. Filing of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Documents

Under Seal. Before any document marked as CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE



                                                  8
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 9 of 16                     PageID #: 335




ORDER is filed with the Clerk, the party filing the document shall make reasonable efforts to

ensure that the document is protected from public disclosure. The filing party shall first consult

with the party that originally designated the document as CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE

ORDER to determine whether, with the consent of that party, a redacted document may be filed

with the Court not under seal. Where agreement is not possible or adequate, before a

confidential document is filed with the Clerk, it shall be placed in a sealed envelope marked

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” or “ATTORNEY’S EYES ONLY

- SUBJECT TO PROJECTIVE ORDER”, displaying the case name, docket number, a

designation of what the document is, the name of the party on whose behalf it is submitted, and

the name of the attorney who has filed the documents on the front of the envelope. If the

contents of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

ONLY - SUBJECT TO PROJECTIVE ORDER documents are incorporated into memoranda or

other pleadings filed with the Court, counsel shall prepare two versions of the pleadings, a public

and a confidential version. The public version shall contain a redaction of references to

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY -

SUBJECT TO PROJECTIVE ORDER documents. The confidential version shall be a full and

complete version of the pleading and shall be filed with the Clerk under seal as above.

       9. No Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an order providing such special protection.

       10. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO



                                                 9
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 10 of 16                    PageID #: 336




PROJECTIVE ORDER designation is subject to challenge by any party or non-party (hereafter

the “objecting party”). The following procedure shall apply to any such challenge.

       (a) Objection to Confidentiality. Within thirty (30) days of the receipt of any

       document designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

       ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER or of the refusal

       to produce a document on the ground of such designation, an objecting party may serve

       upon the designating party an objection to the designation. The objection shall specify

       the documents to which the objection is directed and shall set forth the reasons for the

       objection as to each document or category of documents. CONFIDENTIAL - SUBJECT

       TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

       PROJECTIVE ORDER documents to which objection has been made shall remain

       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

       ONLY - SUBJECT TO PROJECTIVE ORDER until designated otherwise by waiver,

       agreement or order of the Court.

       (b) Obligation to Meet and Confer. The objecting party and the designating party shall

       have fifteen (15) days from service of the objection to meet and confer in a good faith

       effort to resolve the objection by agreement. If agreement is reached confirming or

       waiving the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

       ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER designation as to

       any documents subject to the objection, the designating party shall serve on all parties a

       notice specifying the documents and the nature of the agreement.

       (c) Obligation to File Motion. In the absence of agreement as to any documents

       designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or



                                                10
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 11 of 16                        PageID #: 337




         ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER, the designating

         party shall file within 30 days of the service of the objection a motion to retain the

         CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

         ONLY - SUBJECT TO PROJECTIVE ORDER designation. The moving party has the

         burden to show good cause for the CONFIDENTIAL - SUBJECT TO PROTECTIVE

         ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER

         designation. The failure to file the motion waives the CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE

         ORDER designation of documents to which objection was made.

         11. Action by the Court. Applications to the Court for an order relating to documents

designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

ONLY - SUBJECT TO PROJECTIVE ORDER shall be by motion under Local Rule 7. Nothing

in this Protective Order or any action or agreement of a party under this Protective Order limits

the Court’s power to make orders concerning the disclosure of documents produced in discovery

or at trial.

         12. Use of Confidential Documents or Information at Trial. A party which intends to

present or which anticipates that another party may present at trial CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

PROJECTIVE ORDER documents or information derived therefrom shall identify the issue, not

the information, in the pretrial memorandum. The Court may thereafter make such orders as are

necessary to govern the use of such documents or information at trial.

         13. Obligations on Conclusion of Litigation.

         (a) Order Remains in Effect. Unless otherwise agreed or ordered, this Protective Order



                                                  11
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 12 of 16                     PageID #: 338




      shall remain in force after dismissal or entry of final judgment not subject to further

      appeal.

      (b) Return of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER and

      ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER Documents.

      Within thirty (30) days after dismissal or entry of final judgment not subject to further

      appeal, all documents treated as CONFIDENTIAL - SUBJECT TO PROTECTIVE

      ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER under

      this Order, including copies as defined in ¶ 6(e), shall be returned to the producing party

      unless: (1) the document has been offered into evidence or filed without restriction as to

      disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to documents

      bearing the notations, summations, or other mental impressions of the receiving party,

      that party elects to destroy the documents and certifies to the producing party that it has

      done so. Notwithstanding the above requirements to return or destroy documents,

      counsel may retain attorney work product, including an index which refers or relates to

      information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

      ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER, so long as that

      work product does not duplicate verbatim substantial portions of the text or images of

      confidential documents. This work product shall continue to be CONFIDENTIAL -

      SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT TO

      PROJECTIVE ORDER under this Order. An attorney may use his or her work product

      in a subsequent litigation provided that its use does not disclose or use CONFIDENTIAL

      - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES ONLY - SUBJECT

      TO PROJECTIVE ORDER documents.



                                                12
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 13 of 16                      PageID #: 339




       (c) Return of Documents Filed under Seal. After dismissal or entry of final judgment

       not subject to further appeal, the Clerk may elect to return to counsel for the parties or,

       after notice, destroy documents filed or offered at trial under seal or otherwise restricted

       by the Court as to disclosure.

       14. Order Subject to Modification. This Protective Order shall be subject to

modification by the Court on its own motion or on motion of a party or any other person with

standing concerning the subject matter. Motions to modify this Protective Order shall be served

and filed under Local Rule 7.

       15. No Prior Judicial Determination. This Protective Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any documents or

information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

ATTORNEY’S EYES ONLY - SUBJECT TO PROJECTIVE ORDER by counsel or the parties

is subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise

until such time as the Court may rule on a specific document or issue.

       16. Persons Bound. This Protective Order shall take effect when entered and shall be

binding upon all counsel and their law firms, the parties, and persons made subject to this Order

by its terms.




                                                 13
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 14 of 16          PageID #: 340




       SO ORDERED.


Dated: September 27, 2018.
                                            /s/ John H. Rich III
                                            U.S. Magistrate Judge


 WE SO MOVE                                  WE SO CONSENT
 and agree to abide by the                   and agree to abide by the
 terms of this Order                         terms of this Order

 /s/ Rebecca Gray Klotzle                    /s/ Stacy O. Stitham
 Rebecca Gray Klotzle                        Peter J. Brann
 Benjamin M. Leoni                           Stacy O. Stitham
 CURTIS THAXTER LLC                          BRANN & ISAACSON
 One Canal Plaza, Suite 1000                 184 Main Street
 P.O. Box 7320                               Box 3070
 Portland, ME 04112-7320                     Lewiston, ME 04243
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 MNewman@mintz.com                           LLC
 MRenaud@mintz.com
 MKarambelas@mintz.com                       Dated: September 25, 2018
 CHerndon@mintz.com

 Counsel for Plaintiffs Copan Italia
 S.P.A and Copan Diagnostics, Inc.

 Dated: September 25, 2018




                                       14
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 15 of 16                     PageID #: 341




                                       ATTACHMENT A



                                                  )
 COPAN ITALIA S.P.A., and                         )
 COPAN DIAGNOSTICS, INC.,                         )
                                                  )
        Plaintiffs,                               )   Civil Action No. 1:18-cv-00218-JDL
                                                  )
 v.                                               )
                                                  )
 PURITAN MEDICAL PRODUCTS                         )
 COMPANY LLC and                                  )
 PURITAN DIAGNOSTICS LLC,                         )
                                                  )
        Defendants.                               )
                                                  )

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he/she has read the Protective Order dated

September 27, 2018, in the above-captioned action and attached hereto, understands the terms

thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the

United States District Court for the District of Maine in matters relating to the Protective Order

and understands that the terms of the Protective Order obligate him/her to use documents

designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEY’S EYES

ONLY - SUBJECT TO PROJECTIVE ORDER in accordance with the Protective Order solely

for the purposes of the above-captioned action, and not to disclose any such documents or

information derived directly therefrom to any other person, firm or concern.

       The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.
Case 1:18-cv-00218-JDL Document 43 Filed 09/27/18 Page 16 of 16   PageID #: 342




Name:        __________________________________________

Job Title:   __________________________________________

Employer:    __________________________________________

Business Address:        ______________________________

                         ______________________________

                         ______________________________



Date: _______________    ______________________________
                         Signature




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